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                             H U N TER T ON & A SSO CIA TE S
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                                              627 So.7* St.
                                        LAS VEGAS,NEVADA 89191

    C.STANLEY HUNTERTON*                                                       TELEPHONE:(702)3* 0098
                                                                                FACSIMILE:(TQ2)386.
                                                                                                  0361
u   *AQSO LICENSED IN NEW YORK

                                              M arch 20s2012


        KelliC.M organ
        United StatesProbation Officer
        300So.IaasV egasBlvd.So.,Ste,1200
        LasVegas,NV 89101
        Re.: U S.v.Williams,2:l0rcr-0035& LDG-LRL

         DearM s.M organ:
            W erectived yourprobation reporton Jolm J.t%lack''W illiam son M arch 19,2012.The
         reportcallsforaresponsenotlaterthan M arch 29,2012.
            Ihave atrialcomm encing beforeJudgeNavalw on M arch 27,2012. Thistrialwilllastthat
         week artdprobably into the follow ingweek.Therefore,itisim pessible to getourcomm ents,
         objections,etc.toyouonM arch29,2012.
             M ayIrespectfullysuggestthattheearliestIcangetourcommentsand objectionstoyou
          would beFriday,Aplil6,2012, SincethesentencingisnotuntilApril19,2012,thisleavesa13
          daytum around tim e.
             Ifyou orJudgeGeorgefeelsthatthisisinsuflicient,then1would respectfully suggestthat
          wepostponethesentencingdate foraweek ortwo.

              Thartk you for yourccmsideration.
                                                  Sincerely,
                                                  I'
                                                   IIJNT R ON & ASSOCIATES
                                                                    f'




                                                                                      ORDER
                                                   C.StanleyHunterton

                                                                  IT IS SO ORDERED.
           Csl-
              l/jma
           cc: The H onorable Lloyd D .G eorge                    DATED this _____ day of March, 2012.
                BrianYoung,Esq.(viaemail)

                                                                             __________________________
                                                                                    Lloyd D. George
                                                                                  Sr. U.S. District Judge
